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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            :
                                    :
            v.                      :                    Criminal No. 21-cr-157 (TNM)
                                    :
CHRISTIAN SECOR,                    :                    Sentencing October 19, 2022
                                    :
      Defendant                     :
____________________________________:


                     UNOPPOSED MOTION FOR EXTENSION OF TIME
                         TO FILE SENTENCING MEMORANDA

        Mr. Christian Secor, through counsel, respectfully moves this Court to extend the time for

filing his sentencing memoranda by one day, to October 13, 2022.

        1. Mr. Secor is scheduled to be sentenced by this Court on October 19, 2022.

        2. Mr. Secor was initially scheduled to be sentenced on October 7, 2022. On May 19,

            2022, when the parties scheduled the sentencing, counsel for Mr. Secor requested 3

            additional days after the government filed its sentencing memoranda to file his

            response. 1

        3. On September 14, 2022, the Court continued Mr. Secor’s sentencing and the due date

            for the parties’ sentencing memoranda was extended to October 12, 2022. Both

            parties are required to file sentencing memoranda on October 12, 2022.

        4. On October 12, 2022, the Government provided counsel with several video exhibits

            that will be used as a part of its sentencing allocution. Counsel will not have internet

            access to the USAFX database between 4 pm and 10 pm and will not have sufficient




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 The Court ordered the Government’s sentencing memoranda due on September 27, 2022, and Mr. Secor’s
memoranda due on September 30, 2022.
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          time to review the exhibits and respond to the Government’s sentencing memoranda

          before midnight on October 12, 2022.

      5. Based on the volume of electronic discovery that has been reviewed in this case, the

          need to review the sentencing exhibits, and for good cause shown, Mr. Secor requests

          an additional twenty-four hours to file his sentencing memoranda on October 13,

          2022.

      6. The government does not oppose this request.

   WHEREFORE, Mr. Christian Secor respectfully requests an extension of time to file his

sentencing memoranda on October 13, 2022.

                                                  Respectfully submitted,

                                                  /s/ Brandi Harden
                                                  ________________________
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                              CERTIFICATE OF SERVICE
      I hereby certify that on October 12, 2022, the above Motion for Extension of Time to File

Sentencing Memoranda was served by electronic means via the Court’s ECF system.



                                                  /s/ Brandi Harden
                                                  _______________
                                                  Brandi Harden
